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                               Attorneys for Defendants
                       7       Dreamdealers USA, LLC d/b/a Exotics Racing,
                               David Perisset, and Roman Thievin
                       8
                                                               UNITED STATES DISTRICT COURT
                       9
                                                                   DISTRICT OF NEVADA
                    10

                    11
                               EDWARD B. DOUGLAS, an individual,              Case No. 2:17-cv-02134-APG-BNW
                    12
                                                 Plaintiffs,
                    13
                               vs.                                            STIPULATION AND ORDER AWARDING
                    14                                                        FEES AND COSTS TO DEFEDANTS
                               DREAMDEALERS USA, LLC d/b/a
                    15         EXOTICS RACING, A Nevada limited
                               liability company, DAVID PERISSET, an
                    16         individual, and ROMAN THIEVIN, an
                               individual,
                    17
                                                 Defendant.
                    18

                    19                Plaintiff EDWARD B. DOUGLAS (“Plaintiff”) and Defendants DREAMDEALERS USA,
                    20         LLC D/B/A EXOTICS RACING, DAVID PERISSET, AND ROMAN THIEVIN (“Defendants”),
                    21         by and through their undersigned counsel, hereby agree and stipulate to award fees and costs to
                    22         Defendants in the amount of $7,020.00.
                    23                On February 26, 2020, the Court held a hearing regarding Defendants’ Motion to Compel
                    24         Discovery (ECF No. 50) and Motion to Re-Open Discovery (ECF No. 51). In ruling upon said
                    25         Motions, the Court ordered Plaintiff to pay reasonable attorneys’ fees and costs to Defendants in
                    26         connection with the filing of said Motions. (ECF No. 68, Minutes of Proceedings; Transcripts of
                    27         Proceedings at 18:15-23). The Court further ordered the parties to meet and confer regarding what
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                       1       constitutes reasonable attorneys’ fees. (Transcripts of Proceedings at 18:15-23). The parties have
                       2       done so and have agreed that $7,020.00 is reasonable. The parties have further agreed that Plaintiff
                       3       shall pay this amount within thirty days of the entry of this Order Awarding Fees and Costs to
                       4       Defendants.
                       5                Therefore, the parties stipulate and request that an award of $7,020.00 be awarded as
                       6       reasonable attorneys’ fees and costs, and that Plaintiff pay this amount to Defendants within thirty
                       7       days of the entry of this Order.
                       8       Dated: May 5, 2020                            Dated: May 5, 2020
                       9       Respectfully submitted,                       Respectfully submitted,
                    10

                    11         /s/ Dustin Clark                              /s/ Marcus B. Smith
                               DUSTIN L. CLARK, ESQ.                         WENDY M. KRINCEK, ESQ.
                    12         HOLLEY DRIGGS                                 MARCUS B. SMITH, ESQ.
                                                                             LITTLER MENDELSON, P.C.
                    13         Attorney for Plaintiff
                                                                             Attorneys for Defendants
                    14

                    15                                                       ORDER
                    16
                                                                                    IT IS SO ORDERED.
                    17
                                                                                            May 6
                                                                                    Dated: _____________________, 2020.
                    18

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                    20                                                              _______________________________________
                    21                                                                UNITED STATES MAGISTRATE JUDGE
                               4825-5365-0107.1 087825.1002
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                                                                               2.
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